OPINION — AG — ** CENTRAL PURCHASING — BIDS ** IS THE OKLAHOMA PLANNING AND RESOURCES BOARD REQUIRED BY LAW TO PURCHASE NECESSARY SUPPLIES, MATERIALS, ETC.,  INCLUDING PRINTING, THROUGH THE STATE BOARD OF PUBLIC AFFAIRS ? — AFFIRMATIVE (BIDS, COMPETITIVE BIDDING) CITE: 74 O.S. 64 [74-64], 74 O.S. 64 [74-64](A), 74 O.S. 344.12 [74-344.12] [74-344.12] (FRED HANSEN)